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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

 IN RE: OIL SPILL by the OIL RIG                                                       MDL-2179
 “DEEPWATER HORIZON” in the GULF
 OF MEXICO, on APRIL 20, 2010
 THIS DOCUMENT RELATES TO:                                                            SECTION J
 ALL ACTIONS                                                                JUDGE BARBIER
                                                                      MAG. JUDGE SHUSHAN

          THE MISSISSIPPI ATTORNEY GENERAL’S MOTION
                FOR LEAVE TO FILE A MEMORANDUM
             IN SUPPORT OF THE STATE OF MISSISSIPPI’S
     STATEMENT OF INTEREST AND REQUEST FOR RELIEF, FILED
   PURSUANT TO § 1715 OF THE CLASS ACTION FAIRNESS ACT OF 2005,
    THAT IS IN EXCESS OF THE 25-PAGE LENGTH IN LOCAL RULE 7.7

      The Mississippi Attorney General respectfully requests leave to file a Memorandum

in Support of his First Statement of Interest, filed pursuant to § 1715 of the Class Action

Fairness Act of 2005, and Renewed Request to Nullify the Illegal, Illegally-Obtained and

Unconscionable GCCF Releases that exceeds the twenty-five-page limit imposed by

Local Rule 7.7 of the Local Rules of the Eastern District of Louisiana.

      The Mississippi Attorney General’s Memorandum in Support of the State of

Mississippi’s Statement of Interest and Renewed Request for Relief, filed pursuant to

§ 1715 of the Class Action Fairness Act of 2005, seeking to nullify the illegal, illegally-

obtained and unconscionable GCCF Releases is thirty-six pages, excluding the signature

page, and other excludable material including Attachments and Exhibits. The Mississippi

Attorney General requests an extension of eleven pages to permit sufficient space to

address critical matters which have the potential of tainting the proposed Deepwater

Horizon Economic and Property Damages Settlement and impacting whether that

proposed Settlement can be deemed fair, adequate and reasonable. The Mississippi
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Attorney General submits that this extension will be useful to the Court in resolving a

pending matter before this Court that could otherwise prevent the entire Settlement from

being upheld as fair, adequate and reasonable. The matters raised in the Memorandum in

Support and the State of Mississippi’s Statement of Interest impact 200,000 claimants,

who the Mississippi Attorney General submits have a federally-protected right to future

damages and to the benefits of any settlement in this case, but that, without resolution of

the pending Requests to nullify the GCCF Releases and severing Exclusions

incorporating those Releases, will be improperly excluded from the Class Definition and

the benefits of the Proposed Class Settlement. The matters raised in Mississippi’s

Statement of Interest implicate matters of great public concern, federal and State law, the

law of this Circuit and public policy.

      A proposed Order accompanies this Motion.

                                         Respectfully submitted this 25th day of April, 2012.

                                         JIM HOOD, ATTORNEY GENERAL
                                         STATE OF MISSISSIPPI

                                         BY: s/ Mary Jo Woods_______________
                                         MARY JO WOODS, MS BAR NO. 10468
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